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  1
  2      UNITED STATES DISTRICT COURT
  3      EASTERN DISTRICT OF NEW YORK
  4      Case No. 1:23-cv-00369-NRM-RML
  5      -----------------------------------x
  6      UNITED STATES OF AMERICA,
  7                      Plaintiff,
  8
  9             - against -
 10
 11      RARE BREED TRIGGERS, LLC; RARE BREED
 12      FIREARMS, LLC; LAWRENCE DEMONICO, KEVIN
 13      MAXWELL,
 14                      Defendants.
 15      -----------------------------------x
 16                      July 14, 2023
 17                      9:39 a.m.
 18
 19                  Remote video-teleconference
 20      deposition via Zoom of ANTHONY CIRAVOLO,
 21      pursuant to notice, before Jineen Pavesi,
 22      a Registered Professional Reporter,
 23      Registered Merit Reporter, Certified
 24      Realtime Reporter and Notary Public of the
 25      State of New York.

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 23      KEVIN MAXWELL
 24      LAWRENCE DeMONICO
 25

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  2                  S T I P U L A T I O N S
  3
  4              IT IS HEREBY STIPULATED AND AGREED
  5      by and between the Attorneys for the
  6      respective parties hereto that filing and
  7      sealing be and the same are hereby waived.
  8             IT IS FURTHER STIPULATED AND AGREED
  9      that all objections except as to the form
 10      of the question, shall be reserved to the
 11      time of the trial.
 12             IT IS FURTHER STIPULATED AND AGREED
 13      that the within examination may be signed
 14      and sworn to before any notary public with
 15      the same force and effect as though signed
 16      and sworn to before this Court.
 17
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   1




  24           Q.       In the instance that that
  25      happens, yes, a hundred pounds of force,

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   1                       CIRAVOLO
   2      the FRT-15 would no longer operate,
   3      correct?
   4           A.       That is correct, if that amount
   5      of force was applied, it would
   6      malfunction.
   7




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   3           Q.       We already discussed and you
   4      agreed that you can pull on the trigger
   5      rearward and not release the hammer,
   6      right?
   7           A.       That's correct.
   8                    MR. BLUME:      Objection, asked
   9      and answered.
  10                    MR. CONTARINO:        Just objection
  11      to form, please.
  12           A.       Could we ask the question
  13      again, that way I can answer clearly.
  14                    MR. CONTARINO:        Would you read
  15      it back.
  16                    (Record read.)
  17           A.       Correct, because the trigger is
  18      being locked by the locking bar and that's
  19      not a separate initiation of the firing
  20      sequence.
  21           Q.       But when the trigger is locked
  22      by the locking bar, it's pushed to its
  23      forward position, right?
  24           A.       That is correct, that happens
  25      automatically as a by-product of the

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   1                       CIRAVOLO
   2      mechanics of the trigger.
   3                    The trigger is forced forward
   4      against the user's will.
   5           Q.       Similar to how it's forced
   6      forward with the 3MR, yes?
   7           A.       That's correct.
   8           Q.       I am going to ask a few
   9      questions about a two-stage semiautomatic
  10      trigger for the AR platform.
  11                    Are you familiar with that?
  12           A.       Yes, I am.
  13           Q.       If the firearm is on safe when
  14      you put pressure on the trigger, what
  15      happens?
  16           A.       The trigger moves to the rear
  17      and initiates the firing sequence.
  18           Q.       Even when the firearm is on
  19      safe?
  20           A.       My apologies, I thought you
  21      said the firearm off of safe.
  22           Q.       No problem.
  23                    If the firearm is on safe and
  24      you put pressure on the trigger, what
  25      happens?

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   1                       CIRAVOLO
   2           A.       The trigger may move rearwards,
   3      but it will not initiate the firing
   4      sequence.
   5           Q.       So the trigger can't function
   6      in that instance, right?
   7           A.       Correct, it is mechanically
   8      blocked from releasing the hammer.
   9           Q.       Can you maintain a continuous
  10      pull in this instance?
  11           A.       You can.
  12           Q.       Can you maintain constant
  13      pressure in this instance?
  14           A.       You can.
  15           Q.       Now turning the safety into the
  16      firing position; if you have a trigger
  17      that is 3/2, first stage requires 3 pounds
  18      and the second stage requires an
  19      additional 2 pounds, and you pull only 3
  20      pounds of pressure, what happens to the
  21      trigger?
  22           A.       The trigger moves rearward but
  23      does not initiate the firing sequence.
  24           Q.       So the trigger doesn't function
  25      in that instance, correct?

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   1                       CIRAVOLO
   2          A.        Correct.
   3          Q.        And if all that happens but
   4     then you do apply the additional 2 pounds
   5     of pressure, what happens?
   6          A.        The firing sequence is
   7     initiated and the hammer falls striking
   8     the firing pin.
   9          Q.        Trigger performs its function
  10     in that instance?
  11          A.        Yes, it does.
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